Case 2:04-CV-02283-SHI\/|-tmp Document 65 Filed 07/15/05 Page 1 of','-} l giglbe

 

IN THE UNITED STATES DISTRICT COURT JUL 15 nos
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION Thomu M. Gould. Ol¢d¢
U. 8. DIOMCQ\M

 

JANE DOE #l, E'I‘ AL.,

Plaintiffs,
V. NO. 04-2283~MaP
MEMPHIS CITY SCHOOLS, ET AL.,

Defendants.

 

OR_DER GRANTING PERMISSION TO FILE REPLY

 

Before the court is the July l, 2005, motion of defendants
Killough and Faulkner for permission to file a reply in further
support of their motion for summary judgment. For good cause
shown, the motion is granted and defendants Killough and Faulkner
may file their reply memorandum.

lt is so oRDERED this |“‘Kday of July, 2005.

J,/sz__

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

This document entered on the doc§ei sheet in compliance
with Ru!e 03 end/or 79(3) FRCP on ' '

 
         
  

UNITED sA"TE DISRIT COURT- WESTNERDT"ISRIC OF TNNESSEE

   

thice of Distribution

This notice confirms a copy cf the document docketed as number 65 in
case 2:04-CV-02283 Was distributed by faX, mail, or direct printing on
July ]8, 2005 tc the parties listed.

 

 

William T. Winchester

THE LAW OFFICES OF WILLIAM T. WINCHESTER
2600 Poplar Ave.

Ste. 507

i\/lemphis7 TN 38112

Ernest G. Kelly

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

i\/lemphis7 TN 38120

Geoffrey Gaia

McWH[RTER WYATT & ELDER
73 Union Ave.

i\/lemphis7 TN 38103

Joe L. Wyatt

McWH[RTER WYATT & ELDER
73 Union Ave.

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

